Case 6:18-cv-01088-GAP-DCI Document 90 Filed 03/22/19 Page 1 of 3 PageID 714



                           UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT FLORIDA
                                ORLANDO DIVISION


WESTGATE RESORTS, LTD., a Florida                CASE NO.: 6:18-cv-01088-GAP-DCI
limited partnership, by and through its
general partner WESTGATE RESORTS,
INC., a Florida corporation, et al.,

                 Plaintiffs,
vs.

REED HEIN & ASSOCIATES, LLC d/b/a
TIMESHARE EXIT TEAM, et al.,

                  Defendants.
                                             /

      STIPULATION FOR DISMISSAL WITH PREJUDICE OF CLAIMS AGAINST
            DEFENDANTS KEN B. PRIVETT AND KEN B. PRIVETT PLC

        Plaintiffs, Westgate Resorts, Ltd.; Westgate Vacation Villas, LLC; Westgate Lakes,

LLC; Westgate GV at The Woods, LLC.; Westgate Towers, LLC; Westgate Flamingo Bay,

LLC; Westgate Myrtle Beach, LLC; Westgate Palace, LLC; Westgate Vacation Villas Owners

Association, Inc.; Westgate Lakes Owners Association, Inc.; Westgate Towers Owners

Association, Inc.; Westgate Town Center Owners Association, Inc.; Westgate Towers North

Owners Association, Inc.; Westgate River Ranch Owners Association, Inc.; Westgate Palace

Owners Association, Inc.; Westgate Flamingo Bay, Las Vegas Owners Association, Inc.;

Westgate Historic Williamsburg, Owners Association, Inc.; Westgate Park City Resort & Spa,

Owners Association, Inc.; Westgate Myrtle Beach Ocean Front Owners Association, Inc.; Cedar

Ridge At The Woods Condominium Owners Association, Inc.; Westgate Branson Woods

Owners Association, Inc.; Grand Vista at Emerald Point Condominium Owner’s Association,

Inc.; Painted Mountain Golf Villas Condominium Association, Inc.; Westgate GV at Emerald

Pointe, LLC; Westgate GV at Painted Mountain, LLC, and Westgate Las Vegas Resort, LLC

32218726v2
O2209485.v1
Case 6:18-cv-01088-GAP-DCI Document 90 Filed 03/22/19 Page 2 of 3 PageID 715



(collectively, “Westgate”), and Defendants, Ken B. Privett and Ken B. Privett PLC (collectively,

“Privett”), by and through their respective undersigned attorneys, hereby stipulate and agree to

the dismissal with prejudice of any and all claims against Privett in the above-entitled matter,

with each of the parties bearing their own attorneys’ fees and costs.


DATED: March 22, 2019
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                                                 2
32218726v2
O2209485.v1
Case 6:18-cv-01088-GAP-DCI Document 90 Filed 03/22/19 Page 3 of 3 PageID 716



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court

by using the CM/ECF system on this 22nd day of March, 2019. I also certify that the foregoing

document is being served this day on all counsel of record or pro se parties identified on the

Service List below in the manner specified, either via transmission of Notices of Electronic

Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

who are not authorized to receive Notices of Electronic Filing electronically.

                                                     /s/ Brian R. Cummings

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32218726v2
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